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                                                                                                 United States Bankruptcy Court
                                                                                                     Southern District of Texas

                                                                                                        ENTERED
                                                                                                      February 14, 2023
                             UNITED STATES BANKRUPTCY COURT                                          Nathan Ochsner, Clerk

                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    In re:                                                §
                                                          §
    FREE SPEECH SYSTEMS, LLC,                             §            Case No. 22--60043
                                                          §
                                     DEBTOR.              §            (Subchapter V Debtor)
                                                          §                Chapter 11


ORDER GRANTING EMERGENCY MOTION TO APPROVE SALE OF WAREHOUSE
                 RACKS AND RELATED PROPERTY.

             Upon the Debtor’s Emergency Motion to Approve Sale of Warehouse Racks and Related

Property (“Motion”) 1; for authority to sell the Warehouse Racks, as more fully set forth in the

Motion; and the Court having jurisdiction to consider the Motion and the relief requested therein

pursuant to 28 U.S.C. § 1334; and consideration of the Motion and the requested relief being a

core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant

to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been provided,

and it appearing that no other or further notice need be provided; and the Court having determined

that the legal and factual bases set forth in the Motion establish (i) the exercise of business

judgment by the Debtor, and (ii) just cause for the relief granted herein; and after due deliberation

and sufficient cause appearing therefore, IT IS HEREBY ORDERED THAT:

             1.    The relief requested is granted and the Debtor is authorized to sell the Warehouse

Racks for the highest price attainable not less than $20,000, as is, where is, without warranty,

provided the buyer is not an insider of the Debtor or Alex Jones.

             2.    The sale shall be free and clear of all liens claims and interests.


1
 Capitalized terms used by not otherwise defined in this Order shall have the meanings ascribed to such terms in the
Motion.
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        3.       The Debtor shall file a notice of sale within seven days following the consummation

of the sale.

        4.       The Debtor is authorized to take all steps necessary or appropriate to carry out the

relief granted in this Order.

        5.       The Court retains exclusive jurisdiction with respect to all matters arising or related

to the implementation, interpretation, and enforcement of this Order.

        Dated this __ day of February 2023.

               August 02,
               February 14, 2019
                            2023
                                                 ___________________________________
                                                 UNITED STATES BANKRUPTCY JUDGE




                                                   2
